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                                                                     October 19, 2020

BY ECF
The Honorable Judge Paul A. Engelmayer
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

RE:    United States v. Jose Dellon, aka Jose Vellon
       20 Cr. 474 (PAE)


Honorable Judge Engelmayer:
       I write to request a modification to Jose Vellon’s bail conditions in the above-captioned
case. Specifically, the defense moves the Court to replace the condition of home detention
enforced with electronic monitoring with a curfew to be set by pretrial services. Pretrial services
consents to the defense’s request; the Government defers to pretrial services.
       On July 28, 2020, Mr. Vellon was presented in Magistrate Court. The following bail
conditions were set and subsequently met:

         $50,000 personal recognizance bond to be co-signed by two financially
         responsible persons; travel limited to the SDNY and EDNY; surrender all
         travel documents with no new applications; pretrial supervision as directed by
         pretrial services; home detention enforced by electronic monitoring;
         seek/maintain employment; and no possession of a firearm/destructive
         device/other weapon.
Doc. No. 5.
        To date, Mr. Vellon has complied with all pretrial release conditions. Since Mr. Vellon’s
presentment in July, he has secured employment and provided verification of employment to
pretrial services. In addition to leaving home for work, Mr. Vellon will soon have to attend a
mandatory program in person. He will also have to begin reporting to parole in person
imminently. Given these various commitments, pretrial services has expressed that home
detention is no longer appropriate for Mr. Vellon.
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       Accordingly, Mr. Vellon respectfully requests that the Court modify his bail conditions to
replace home detention secured by electronic monitoring with a curfew to be set by pretrial
services. Pretrial services consents to this request and the Government defers to pretrial.


Respectfully submitted,

/s/                                                GRANTED. The Clerk of Court is requested to
Marne Lenox                                        terminate the motion at Dkt. No. 21.
Assistant Federal Defender
(212) 417-8721                                                                              10/19/2020
                                                    SO ORDERED.

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                                                                __________________________________
                                                                      PAUL A. ENGELMAYER
                                                                      United States District Judge


cc:    Sam Rothschild, Assistant U.S. Attorney (by ECF)
       Bernisa Mejia, Pre-Trial Services Officer (by email)




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